Case 8:22-cv-00099-DOC-DFM Document 41 Filed 01/24/22 Page 1 of 2 Page ID #:406




                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

  Case No. SA CV 22-00099-DOC-DFM                                   Date: January 24, 2022

  Title: JOHN C. EASTMAN V. BENNIE G. THOMPSON ET AL.


  PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                Karlen Dubon                                   Not Present
               Courtroom Clerk                                Court Reporter

        ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
              PLAINTIFF:                                  DEFENDANT:
             None Present                                  None Present


         PROCEEDINGS (IN CHAMBERS): ORDER RE: PRODUCTION AND
                                    PRIVILEGE LOG

        The Court heard oral arguments on Plaintiff Dr. John Eastman’s Application for a
  Temporary Restraining Order as to Subpoena (Dkt. 2). As mentioned during the hearing,
  the Court intends to rule against Dr. Eastman on the issues of the House Select
  Committee’s authority to issue this subpoena, Dr. Eastman’s First Amendment
  arguments, and Dr. Eastman’s Fourth Amendment arguments by tomorrow, January 25,
  2022.

          Dr. Eastman represented that he was willing to work on a privilege log if the Court
  was to rule against him on his non-privilege claims. The House Select Committee also
  stated that it was willing to give Dr. Eastman the opportunity to produce such a log.
  Given the importance of the investigation and the parties’ representations, the Court
  ORDERS the parties to begin work on production and creating a privilege log on
  Tuesday, January 25, 2022 by 12:00 pm Pacific.

         The Court expects that the parties will work together with the urgency that this
  case requires. The parties are ORDERED to file a joint status report with the Court on
Case 8:22-cv-00099-DOC-DFM Document 41 Filed 01/24/22 Page 2 of 2 Page ID #:407
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

   Case No. SA CV 22-00099-DOC-DFM                                       Date: January 24, 2022

                                                                                        Page 2

  Wednesday, January 26 and Friday, January 28 at 2:00 pm Pacific. The report should
  summarize the progress made and any disputes that the parties are facing.

         The Court sets a Status Conference for next Monday, January 31, at 2:00 pm
  Pacific.

        The Clerk shall serve this minute order on the parties.

   MINUTES FORM 11                                                Initials of Deputy Clerk: kdu

   CIVIL-GEN
